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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF VIRGINIA
                              Newport News Division

 UNITED STATES OF AMERICA

 v.                                                       Criminal No. 4:20cr1

 JAMAR GREEN,

             Defendant.


                                 MEMORANDUM ORDER

      This matter is before the Court following a brief status

 conference        conducted    on    September     29,     2020,   via    video

 teleconference using the Zoom.gov platform.                Trial is currently

 scheduled to commence in this matter on Wednesday, October 6, 2020.

                               I. Status Conference

      The September 29, 2020, status conference was originally

 scheduled to be conducted in open court.           However, due to multiple

 confirmed COVID-19 cases at the jail where Defendant is housed,

 such hearing was converted to a video teleconference as COVID-19

 mitigation policies adopted by Defendant’s jail prevented his

 transport    to    the   federal    courthouse.     Defendant,     who   is   now

 proceeding pro se in this criminal case, was present on the video

 teleconference, as was counsel for the Government and standby

 defense counsel.         The purpose of such status conference was: (1)

 to address Defendant’s pre-trial access to discovery materials

 subject to a protective order in light of the challenges created
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 by the COVID-19 pandemic, with such access recently complicated by

 the COVID-19 outbreak at Defendant’s jail and the jail’s responsive

 mitigation procedures; and (2) to allow Defendant an opportunity

 to be heard on trial scheduling matters in light of the fact that

 he still has not reviewed substantial portions of the pre-trial

 discovery provided by the Government. 1

      At   the    video   teleconference   hearing,    the   Court   made   a

 preliminary statement summarizing relevant background information,

 but prior to completing such background, Defendant interjected and

 voiced his objection to the hearing itself, indicating his desire

 for an in-person status conference in open court.               The Court

 informed Defendant, on the record, that such an in-person hearing

 could not be conducted at this time due to the COVID-19 outbreak

 at Defendant’s jail and the recently adopted restrictions on inmate

 movement.       Defendant orally challenged the Court’s information

 regarding limitations on inmate movements and continued to assert

 that an in-person hearing was necessary.        The Court twice informed


 1 Defendant and standby counsel recently filed separate letters documenting
 their inability to meet at the jail to review discovery, with counsel
 reporting that Defendant “refused” to meet with him, ECF No. 87, and
 Defendant reporting that jail authorities would not allow Defendant to meet
 with standby counsel, presumably due to the COVID-19 outbreak, ECF No. 88.
 Such letters caused this Court to arrange for Defendant to meet with standby
 counsel to review discovery at the federal courthouse, as the Court was
 taking all practicable steps to preserve Defendant’s trial date. See ECF
 No. 89 (outlining arrangements made with the U.S. Marshal’s service and
 instructing standby counsel to arrive at the federal courthouse on September
 29, 2020, at a time early enough to review discovery with Defendant before
 the afternoon in-person status conference). Such in-person discovery review
 session was subsequently cancelled in light of the newly implemented COVID-
 19 mitigation procedures at Defendant’s jail.

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 Defendant that it could address scheduling in this case either by

 “written     Order”     or   though    the    video    teleconference,      further

 explaining that the purpose of the video teleconference, which was

 the closest option to an in-person hearing the Court could offer, 2

 was to provide Defendant the opportunity to be heard and to

 participate in addressing scheduling issues.               Notwithstanding the

 Court’s explanation, Defendant again indicated that he refused to

 consent to the video teleconference, and the video teleconference

 was therefore adjourned, with Defendant and the undersigned judge

 simultaneously signing off from the Zoom.gov proceeding.

                    II. Pandemic Trials in this District

       In   light   of    the    public   health   emergency       created   by   the

 nationwide spread of COVID-19, on March 13, 2020, this Court issued

 a District-wide General Order suspending all criminal trials for

 approximately one month.             Case No. 2:20mc7, Gen. Order 2020-02.

 On   March   23,    2020,      the   Court    issued    General    Order    2020-06

 expounding on why the “ends of justice” warranted exclusion of the

 one-month COVID-19 trial delay from the statutory speedy trial

 clock.     See 18 U.S.C. § 3161(h)(7).            On April 10, 2020, in the



 2 Defendant’s jail has informed the Court that inmates housed in close
 contact with those known to be infected are being quarantined to the greatest
 extent possible, and that all contact visits with counsel are temporarily
 suspended, with COVID-19 testing being broadly administered at the jail.
 The Court further notes that the U.S. Marshal must coordinate prisoner
 movements with local jails, and the Marshal similarly must make decisions
 regarding how/whether specific inmates can be safely transported to the
 federal courthouse.

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 midst of the increased spread of COVID-19 across Virginia, and in

 the face of “stay-home” orders issued by the Governor of Virginia

 and the governors of surrounding states, the Court issued General

 Order 2020-12 extending the postponement of all civil and criminal

 jury     trials,     as   well     as    all    non-critical,    non-emergency

 proceedings, through June 10, 2020.               Such Order made additional

 speedy trial findings, reiterating the obstacles to seating a jury

 in the midst of the pandemic and further noting the need for a

 “robust response from our Court to protect the public health” in

 light of the growing number of COVID-19 hospitalizations and deaths

 in Virginia.       Id. at 7.     On May 26, 2020, the Court issued General

 Order 2020-16 outlining the phased expansion of court operations

 in this District, scheduled to begin on June 11, 2020.             Such phased

 re-opening permitted more in-person proceedings to occur; however,

 as recommended by the Administrative Office of the United States

 Courts    (“AO”)     in   its     Federal      Judiciary   COVID-19    Recovery

 Guidelines, the Court would “continu[e] to use video- and tele-

 conferencing to the greatest extent possible,” for both civil

 proceedings and criminal proceedings authorized by the CARES Act.

 Id. at 2.    While General Order 2020-16 allowed for more in-person

 hearings, it established a separate timeline for the resumption of

 jury trials, thereby: (1) suspending all civil jury trials “until

 further notice” because “the interests of justice require the

 prioritization       of   criminal      jury   trials   during   the   upcoming


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 months”; and (2) ordering that “no criminal jury trials shall be

 conducted prior to Tuesday, July 7, 2020” based on the additional

 “exposure risks” associated with a jury trial and the need for

 “the creation of special procedures to reduce the risk of COVID-

 19 exposure during trial,” which would require “reconfiguration of

 Courtrooms and/or the use of multiple Courtrooms to conduct a

 single jury trial.”       Id. at 3-5.            The Court further explained that

 additional   time   was    needed       to       “develop   and   circulate    safety

 procedures to prospective jurors, witnesses, litigants, attorneys,

 and the public,” a necessary step to keep all trial participants

 as safe as practicable, as well as to “foster confidence in the

 safety of the jury process.”        Id. at 4.          The Order expressly stated

 that the target date for the resumption of trials “may be extended

 by subsequent order.”       Id.

      On June 30, 2020, the Court issued General Order No. 2020-19

 finding, based on the ever-evolving state of the pandemic, recent

 studies released by the CDC, the issuance of a report on the

 resumption   of   trials    by    the    “jury       subgroup”    of   the   COVID-19

 Judicial Task Force (Subgroup Report) established by the AO, and

 new information obtained from various other sources, to include

 input from the Federal Public Defender’s Office and this Court’s

 Criminal Justice Act (CJA) Panel Attorney District Representative,

 that an extension of two additional months (through September 14,

 2020) was necessary before criminal jury trials could safely resume


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 “in a manner that guarantees every defendant a fair trial in the

 midst of a pandemic involving a deadly and easily transmitted

 disease.”     Id. at 1-2.       The detailed analysis contained in that

 Order, which again made speedy trial findings, noted that the

 additional time was necessary not only “to prepare and retrofit

 our   Courthouses   and   courtrooms,     but   also   to     ensure   that   the

 resumption of criminal jury trials provides the accused defendant

 with the full panoply of trial rights, to include not only the

 right to an in-person live trial, but one where the jury represents

 a fair cross-section of the community 3 and will not be encouraged

 to rush to judgment during deliberations based on a fear of

 exposure to COVID-19.” 4     Id. at 2 (emphasis added).            The numerous

 findings    justifying    the     Court’s   decision         to   postpone    the

 resumption of criminal jury trials outlined in General Orders 2020-

 06,   2020-12,   2020-16,   and    2020-19,     are    all    incorporated     by

 reference herein.      Moreover, the Court notes that its concerns

 regarding the safety of resuming trials at the time General Order

 2020-19 was issued included the fact that the “‘first wave’ of


 3  “[T]he COVID-19 pandemic has disproportionately impacted African-
 Americans, and other minority communities,” Gen. Order 2020-19, at 8 n.6,
 a fact established by a CDC report issued on June 15, 2020, and raised by
 local public health officials advising the Court on how, and when, to safely
 resume criminal jury trials.
 4 The fear that a jury would rush to judgment in the midst of the pandemic
 was discussed in a report from the National Association of Criminal Defense
 Lawyers titled “Court Reopening and Public Health in the COVID-19 Era”
 (NACDL Report). As discussed in General Order 2020-19, the NACDL Report
 was highlighted to the Court by the CJA Panel Attorney District
 Representative.

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 COVID-19 infections in this country [was] far from over,” id. at

 5, a concern that was borne out by the fact that, during the

 subsequent month, the average number of new daily COVID-19 cases

 in Virginia doubled, and the average number of people hospitalized

 in Virginia increased by 50 percent.

        Jury trials resumed in this District on September 14, 2020, 5

 with   the   first    trial    in   the       Norfolk/Newport     News     Divisions

 beginning on September 16, 2020, due to a case-specific COVID-19

 two-day delay.       Currently, the Norfolk Division and Newport News

 Division of this Court each has one COVID-19 jury trial courtroom

 retrofitted    with    plexiglass,      audio-visual,       and    other    physical

 modifications, and the Court is in the process of adding a second

 jury trial courtroom in Norfolk, which will be available for trials

 in   mid-October      after    custom     ordered     plexiglass    dividers     are

 delivered and installed.         As explained in General Order 2020-21,

 which was issued last week, the “redesigned jury trial process”

 adopted   by   this    Court    “requires       the   use   of    three    different


 5 As discussed in General Order 2020-19, the decision to begin trials in
 September took into account the need to develop public confidence in the
 protections adopted by this Court, with the modified jury trial procedure
 ultimately adopted by this Court after a mock trial walkthrough with local
 public health officials.   The Court also considered the June 2020 NACDL
 Report, which acknowledges that the resumption of jury trials in the midst
 of this deadly pandemic needed to “prioritize evidence-based health and
 safety measures and the preservation of fundamental rights over the
 ministerial needs of docket management,” further cautioning that a rush to
 resume trials could “undermine the truth seeking purpose of trials,” and
 impact the Court’s ability to seat a jury representing a fair cross-section
 of the community. Such report was merely one of many perspectives considered
 by this Court in adopting a timeline for the resumption of criminal jury
 trials.

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 courtrooms to conduct a single jury trial . . . meaning that as

 many as six courtrooms [in our Norfolk Courthouse] will be occupied

 to ensure a safe and socially distanced jury trial process.” 6          Id.

 at 4.   Such “consumption of physical resources” greatly taxes the

 Court’s ability to conduct other in-person hearings as it leaves

 only a few “smaller courtrooms” open that are not suitable for

 jury trials during a pandemic. Id. This procedure is nevertheless

 “necessary to protect defendants’ speedy trial rights to the

 greatest extent possible within the space available to the Court.”

 Id.

                  III. Rescheduling Defendant’s Trial

       Defendant’s jury trial in this case was originally scheduled

 for February 22, 2020.      Defendant’s counsel, however, was forced

 to withdraw in January of 2020 due to a newly discovered conflict

 of interest.      New counsel, Scott Hallauer, was appointed and

 requested a continuance of the jury trial so that he would have

 adequate time to prepare, with the jury trial then rescheduled for

 May 12, 2020.    The May trial date was continued due to the COVID-

 19 pandemic, but even if it had not been, it is unlikely that trial

 would have started on such date in light of the communication

 breakdown between Defendant and Mr. Hallauer in April of this year.



 6 The federal courthouse in this Court’s Newport News Division has a total
 of only two courtrooms, as well as a jury assembly room and a grand jury
 suite. Both of the courtrooms, as well as the jury assembly room, will be
 utilized in order to safely conduct a single criminal jury trial.

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 At a July hearing on Mr. Hallauer’s motion to withdraw, the Court

 granted   the    motion,     further       granting    Defendant’s         request    to

 proceed pro se.       ECF No. 62.      The Court appointed Mr. Hallauer as

 standby counsel to help facilitate Defendant’s review of discovery

 materials.     Trial was then reset for October 6, 2020, and the Court

 entered   an    Order   to   ensure    that     Defendant       had    a   sufficient

 opportunity to review electronic discovery with standby counsel

 notwithstanding restrictions imposed by Defendant’s local jail.

 ECF No. 73.          As summarized above, the COVID-19 pandemic has

 precluded      Defendant     from     timely        reviewing     such       discovery

 materials, see ECF Nos. 66, 87, which, along with the current

 lockdown at Defendant’s jail, renders it impossible to begin the

 trial on October 6, 2020.

        After months of postponing criminal trials across this entire

 District due to the national emergency created by the COVID-19

 pandemic,      the   undersigned     judge     was     recently       called    on    to

 coordinate the initial trial schedules of seven different District

 Judges serving the Norfolk and Newport News Divisions of this Court

 with   only    two   available      jury    trial     courtrooms      (one     in    each

 Division). 7     In the midst of multiple defendants asserting their

 speedy trial rights, Defendant, who still needed time to review

 discovery, was scheduled to proceed to trial on October 6, 2020,



 7 As noted above, the third jury trial courtroom is expected to be fully
 retrofitted for pandemic jury trials in approximately two to three weeks.

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 just    a   few       weeks    after   criminal      jury      trials       first      resumed.

 However, as indicated above, such trial date is simply no longer

 feasible in light of: (1) Defendant’s failure to review critical

 pre-trial         discovery        subject     to     a     protective           order;        and

 (2) Defendant’s current inability to review such materials in

 light of the COVID-19 outbreak at Defendant’s jail.                             The interests

 of justice therefore require this Court to reschedule Defendant’s

 jury trial, and in light of the backlog of other criminal jury

 trials that began being postponed in March of this year, the first

 date    currently          available   is    January      4,    2021.           Such    date    is

 therefore reserved for Defendant’s jury trial.                              Should another

 trial be cancelled due to a guilty plea or other circumstance and

 an     opening        of      sufficient     length       appears          on    the     shared

 Norfolk/Newport News criminal jury trial schedule, the Court will

 begin Defendant’s jury trial at an earlier date, assuming of course

 that he has had adequate time to review all relevant discovery and

 makes representations to the Court that he is prepared to proceed

 to trial.

        While      a    continuance     until       January     is     presumably        against

 Defendant’s wishes (Defendant voluntarily elected not to present

 his position on the record at the September 29, 2020, video

 teleconference),            the    Court    finds    that      such    a    continuance         is

 necessary and is clearly in the “interests of justice” in light of

 the    ongoing        public      health    crisis    and      the    critical         need    for

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 Defendant, who is representing himself, to review discovery.            See

 18 U.S.C. § 3161(h)(7)(B)(iv) (indicating that when making an “ends

 of justice” finding, the district court must consider whether “the

 failure to grant . . . a continuance . . . would deny the defendant

 . . . the reasonable time necessary for effective preparation,

 taking into account the exercise of due diligence”).             The trial

 delay is therefore excludable under the Speedy Trial Act, 8 and a

 January 4, 2021, trial date does not violate the constitutional

 guarantee of a speedy and public trial by jury. 9

       Stated in simple terms, our nation, and this Court, finds

 itself in unprecedented times.            The scientific community has

 continued to act and re-act to, and evaluate and re-evaluate, this

 deadly disease, with medical guidance changing at times on a daily



 8 In addition to the delay necessitated by the pandemic and the need for
 Defendant to review protected discovery, Defendant has filed numerous pre-
 trial motions over the last several months, some of which are not yet ripe,
 and the delay resulting from such motions is excluded under the Speedy Trial
 Act. 18 U.S.C. § 3161(h)(1)(D).
 9  The Court has weighed all of the Barker factors relevant to the
 constitutional speedy trial inquiry, including whether Defendant “made a
 timely assertion” of his speedy trial rights, the fact that the Government
 is not at all responsible for the pandemic related delay, and the absence
 of prejudice resulting from the delay caused by the pandemic. United States
 v. Hall, 551 F.3d 257, 272 (4th Cir. 2009) (applying the four-part
 constitutional inquiry outlined in Barker v. Wingo, 407 U.S. 514, 530
 (1972)). While Defendant did file a speedy trial motion seeking dismissal
 of his indictment in August, ECF No. 69, such motion fails to establish a
 constitutional violation, and the arguments advanced in such motion will be
 squarely addressed by the Court through separate order. As discussed herein,
 Defendant elected not to participate in the September 29, 2020, video
 teleconference scheduled to address the recent factual developments
 requiring a further continuance of the trial date, and the instant Order
 addresses such pandemic related delay, as well as the pandemic events
 preceding such delay, without Defendant’s input.

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 basis.   This has forced the undersigned judge to devote countless

 hours over the last six months to studying the scope of the

 pandemic and its impact on this District, and to evaluate, adopt,

 re-evaluate, and revise operational plans and procedures in light

 of the emerging dangers posed by COVID-19.        Defendant was assigned

 one of the earliest trial dates after criminal trials were resumed

 in this District, and the Court took all steps practicable to

 preserve such trial date, including arranging for an in-person

 discovery review session at the federal courthouse in Norfolk that

 was scheduled to take place the week following the date when

 Defendant’s jail ended jail contact visits and transportation to

 courts. Through no fault of Defendant, counsel for the Government,

 standby counsel, or anyone else involved in this case, proceeding

 to trial on October 6, 2020, is simply not possible due to the

 COVID-19 outbreak at Defendant’s jail and the associated lockdown.

 Based on such reality, the Court has no choice but to reschedule

 Defendant for the earliest available date in one of the three

 Courtrooms in the Norfolk/Newport News Divisions that are/will be

 retrofitted to permit a “safe” mid-pandemic public trial by jury.

 Even with the continued suspension of all civil trials in order to

 prioritize criminal defendants’ speedy trial rights, the next

 available trial date is January 4, 2021.

       For all of the reasons discussed above, most notably the need

 to ensure that the pro se Defendant is not rushed to trial without


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 having had ample time to review the discovery provided by the

 Government, the Court concludes that the “ends of justice served

 by [continuing the trial date until January 4, 2021,] outweigh the

 best interest of the public and the Defendant in a speedy trial.”

 18 U.S.C. § 3161(h)(7)(A).          Failure to allow Defendant sufficient

 time to prepare for trial would “result in a miscarriage of

 justice,” § 3161(h)(7)(B)(i), and the delay in trial from October

 to January is not the fault of prosecuting attorneys or anyone

 else in this case, but is instead attributable to the new realities

 of conducting a jury trial in the midst of a deadly nationwide

 pandemic,      and   more   specifically,      the    outbreak       of    COVID-19

 occurring at the jail where Defendant is housed during the critical

 trial preparation weeks immediately preceding the scheduled jury

 trial.

        This Court is fully aware that “ends of justice” continuances

 cannot   be    predicated      on   “general   congestion       of   the   court’s

 calendar,” § 3161(h)(7)(C), but the instant continuance is not

 predicated on “general congestion” of the Court’s calendar and/or

 the unavailability of the assigned trial judge due to a rigorous

 case schedule.        In circumstances of “general congestion,” the

 assigned judge can seek help from colleagues, transfer the case to

 an available judge, or otherwise continue non-trial matters to

 prioritize a defendant’s speedy trial rights.              In contrast, here,

 none    of    such   options    are   available      as   the   continuance      is


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 necessitated    by   the   fact    that       the    nationwide       pandemic    has

 eliminated this Court’s ability to safely conduct any more than

 three   simultaneous     jury   trials       in   the     region   containing     the

 geographically contiguous Newport News and Norfolk Divisions of

 this Court, and there is simply no physical space available where

 the Court could assure a jury that adequate social distancing would

 be maintained throughout the course of trial and deliberations.

 Attempting to try the case at an earlier time using a courtroom

 and/or jury room that does not permit jurors to stay at least six

 feet apart would itself result in a miscarriage of justice as

 jurors’ fears for their safety would prevent them from devoting

 their full attention to the case and would encourage them to rush

 to judgment rather than give Defendant the fair public trial

 required by the United States Constitution.

       Defendant’s October 6, 2020, jury trial date is therefore

 CONTINUED,    with   a   new    trial    date       set   for   the    earlier    of:

 (1) January 4, 2021, in Newport News, Virginia; or (2) the first

 date occurring after Defendant has had a full opportunity to review

 relevant trial discovery when a COVID-19 retrofitted courtroom is

 available in the Norfolk or Newport News federal courthouses.

 Because the shared trial schedule can change rapidly, standby

 counsel is INSTRUCTED to meet with Defendant, in-person, as soon

 as practicable after Defendant’s jail concludes its lockdown in

 order to continue/complete Defendant’s review of discovery.                      If it


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 becomes necessary to have Defendant transported to the federal

 courthouse in order to facilitate this review, standby counsel

 should notify the undersigned judge’s courtroom deputy.

       The Clerk is DIRECTED to forward a copy of this Memorandum

 Order to Defendant, standby counsel, and counsel for the United

 States.

       IT IS SO ORDERED.




                                                     /s/
                                                Mark S. Davis
                                     CHIEF UNITED STATES DISTRICT JUDGE
 Norfolk, Virginia
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 October ____, 2020




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